Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 1 of 24

IN THE
UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF IOWA

IOWA LIBERTARIAN PARTY and
JAKE PORTER,

Plaintiffs,

VS. Civil Action No. 4:19-cv-00241-SMR-HCA

PAUL D. PATE, Secretary of State
and State Commissioner of Elections,

Defendant.

BRIEF IN SUPPORT OF
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

Plaintiffs by counsel submit the following brief in support of their motion for summary

judgment.

SUBJECT MATTER TABLE OF CONTENTS
THE PARTIES «0... eee nent e beet ent eteeeennneaas 2
IOWA ELECTION LAW... ccc ccc ct cece ener eee ne ee eennnes 2
ARGUMENT 2.0.66. nee eee eee teen eee e een een annes 4

BECAUSE OF THE IMPACT OF A BALLOT RESTRICTION ON THE FUNDAMENTAL
RIGHTS OF VOTERS, PARTIES, AND CANDIDATES, THE VALIDITY OF IOWA’S
FILING DEADLINE MUST BE DETERMINED BY AN INQUIRY THAT ANALYZES
AND ASSESSES THE CHARACTER AND MAGNITUDE OF THE BURDENS IT
CREATES, THE STATE’S INTERESTS THE PROVISION PURPORTEDLY
PROMOTES, AND THE EXTENT TO WHICH THE EARLY DEADLINE IS
NECESSARY TO ACHIEVE THOSE INTERESTS. .......... 0.00000 eevee eeeeee 4
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 2 of 24

A. Iowa Code §§ 44.4 & 45.4 Impose a Heavy Burden on a Minor Party’s
Ability to Recruit and Place Candidates on the General Election Ballot.. . 5

B. Iowa Lacks Any Reasonable Basis for Requiring a Mid-March Filing

Deadline for Minor Party Candidates, Let Alone a Compelling State Interest.

ee eee eee ne een ene ene ete EEE een eens 9

C. Whatever the State’s Reason for the Mid-March Filing Deadline, Burdening

the Plaintiffs’ Rights Is Not Necessary to Its Accomplishment......... 12

CONCLUSION, 0.00.6 e etn e teen eben denne bene enes 13
CERTIFICATE OF SERVICE «1.0... ccc cece ccc ccc etn e nee n ene e ene n ene nns 14

APPENDIX A ~ Select Provisions of the Iowa Election Code
APPENDIX B - Chart of Decision Invalidating Early Filing Deadlines
THE PARTIES

Plaintiffs are the Jowa Libertarian Party and Jake Porter. The Party is a political organization
that has fielded, or attempted to field, candidates for various government offices in the State of lowa,
as well as nationally. Mr. Porter is a resident of Council Bluffs, Iowa, who is a member and
supporter of the Libertarian Party and has previously run as a Libertarian candidate for Secretary of
State and Governor. He intends to continue to promote the Libertarian Party and its candidates and
to be a candidate again. Defendant Paul D. Pate is the Iowa Secretary of State. As such, he is
charged by Iowa Code § 47.1 to serve as the State Commissioner of Elections and thus to oversee
the implementation and enforcement of the State’s election laws.

IOWA ELECTION LAW

Every two years, Iowa alternately votes on candidates for Governor of the State and for

President of the United States. If an association’s candidate for one of those offices garners at least

two percent of the total vote, then Iowa designates it as a “political party” for the next election cycle.
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 3 of 24

Iowa Code § 43.2.1.b.' If qualified as such, a party may nominate its candidates during the next
cycle through the State’s primary election, which is held between June 2 and June 8 of an election
year. Iowa Code § 43.7. An association formed to promote a particular ideology and to field
candidates for public office that has not qualified as a political party is classified as a “nonparty
political organization” (““NPO”), Iowa Code § 44.1, et seg. The Code affords such an organization
alternative methods for placing candidates on the general election ballot. Section 44.1 allows an
NPO to nominate candidates by a convention or caucus that has the participation of at least 250
eligible voters including at least one from at least twenty-five counties. Chapter 45 of the Code
provides for the nomination of candidates by a petition endorsed by a minimum number of voters
depending upon the office, ranging from fifty valid signatures for state representatives to 1,500 for
offices voted on statewide. Iowa Code § 45.1.

Prior to July 1, 2019, nominations made by either a nominating convention or petition had
to be filed with the Commissioner of Elections no later than the seventy-third day before the general
election, which ranged between August 20 and 26. Iowa Code §§ 44.4 & 45.4. The 2019 Iowa
Legislature, however, reset the filing date for nonpresidential minor party and independent
candidates to the eighty-first day before the primary election, or between March 14 and 20, more
than five months earlier than the prior deadline and about seven and a half months before the general

election. Zd. (2019).

'The provisions of the Iowa Election Code cited in this section are collected in Appendix
A to this Brief.
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 4 of 24

ARGUMENT
BECAUSE OF THE IMPACT OF A BALLOT RESTRICTION ON THE FUNDAMENTAL
RIGHTS OF VOTERS, PARTIES, AND CANDIDATES, THE VALIDITY OF IOWA’S FILING
DEADLINE MUST BE DETERMINED BY AN INQUIRY THAT ANALYZES AND ASSESSES
THE CHARACTER AND MAGNITUDE OF THE BURDENS IT CREATES, THE STATE’S
INTERESTS THE PROVISION PURPORTEDLY PROMOTES, AND THE EXTENT TO WHICH
THE EARLY DEADLINE IS NECESSARY TO ACHIEVE THOSE INTERESTS.

Since Williams v. Rhodes, 393 U.S. 23 (1968), the United States Supreme Court has
repeatedly held that electoral restrictions imposed on political candidates implicate fundamental
constitutional rights of the candidates, their supporters, their parties, party members, and voters.
These rights are grounded in the First Amendment's freedoms of speech and association and the First
and Fourteenth Amendment's guarantee of equal participation in the political process. E.g.,
Anderson v. Celebrezze, 460 U.S. 780 (1983); Illinois Elections Board v. Socialists Workers Party,
440 U.S. 173 (1979). To protect the assorted rights, the Supreme Court has used the analysis first
set forth in Anderson. In assessing the legitimacy of a ballot regulation, a court

must first consider the character and magnitude of the asserted injury to the rights protected

by the First and Fourteenth Amendments that the plaintiff seeks to vindicate. It then must

identify and evaluate the precise interests put forward by the State as justifications for the
burden imposed by its rule. In passing judgment, the Court must not only determine the
legitimacy and strength of each of those interests, it also must consider the extent to which
those interests make it necessary to burden the plaintiff's rights.
460 U.S. at 789. Later cases have made clear that the analysis adjusts according to the degree of
interference with the individual rights — the greater the imposition on candidates’ and voters’
interests, the weightier must be the state's justification ~ with due consideration given to less
burdensome alternatives. Burdick v. Takushi, 504 U.S. 428, 434 (1992), quoting Norman v. Reed,
502 U.S. 279, 289 (1992). Thus, when the First and Fourteenth Amendment rights are subjected to

substantial restrictions, the responsible "regulation must be 'narrowly drawn to advance a state
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 5 of 24

interest of compelling importance." Burdick, 504 U.S. at 434 (quoting Norman, 502 U.S. at 289);
accord, e.g., MacBride v. Exon, 558 F.2d 443 (8th Cir. 1977) (February deadline was invalid).

A. Iowa Code §§ 44.4 & 45.4 Impose a Heavy Burden on a
Minor Party’s Ability to Recruit and Place Candidates on the General Election Ballot.

Application of the foregoing analysis to the filing deadline in §§ 44.4 and 45.4 will lead to
its invalidation. As described below, the sections’ early deadline weighs on valuable rights of
political participation protected by the First and Fourteenth Amendments. And the magnitude of the
burden that the sections place on those rights is extreme. Numerous courts, in addition to Anderson
itself, have now invalidated early filing deadlines for third parties and independent candidates as
creating severe burdens on their political rights without sufficient state justifications. E.g., Nader
v. Brewer, 531 F.3d 1028 (9th Cir. 2008) (invalidated June deadline for independent candidates);
Libertarian Party of Ohio v. Blackwell, 462 F.3d 579 (6th Cir. 2006) (struck down Ohio's deadline
for minor parties ofa year before the election); Council of Alternative Political Parties v. Hooks, 121
F.3d 876 (3rd Cir. 1997) (enjoined April petition deadline for minor parties as burdensome and
invasive of First Amendment rights); New Alliance Party of Alabama v. Hand, 933 F.2d 1568 (11th
Cir. 1991) (enjoined April deadline for parties as too early); MacBride v. Exon, 558 F.2d 443 (8th
Cir. 1977) (February deadline was invalid); see Appendix B to this Brief (collecting the cases).

Plaintiffs’ witnesses have identified the serious problems that the March deadline creates for

minor parties. Richard Winger, a long-time expert on minor political parties, independent

*See also, e.g., Eu v. San Francisco County Democratic Central Comm., 489 U.S. 214
(1989); Illinois Board of Elections v. Socialist Workers Party, 440 U.S. 173, 184, 186 (1979).

5
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 6 of 24

candidates, and the electoral process’ noted that such an early deadline gives the minor parties a lot
less time to recruit candidates, Winger Deposition at 11; Joint Appendix (“JA”) at 21. To illustrate,
he observed that in Iowa this year, only one minor party or independent candidate ran for the United
States House of Representatives compared to nine in 2018 and three in 2016. One would have to
go back to 1990 to find only a single nonmajor party U.S. House candidate. Jd. at 11-12; JA at 21.
Mr. Winger also testified that minor parties have a more difficult time recruiting volunteers that early
in an election year compared to late in the year. Jd. at 13; JA at 21. That occurred in Iowa in 2020.
Affidavit of Jake Porter. JA at 46 & 49.* Voter interest increases and issues can change greatly after
mid-March as the election year progresses. E.g., 1968 (Lyndon Johnson opted not to run on March
31 and Martin Luther King and Robert Kennedy were assassinated on April 4 and June 6th,
respectively); 2020 (COVID-19 created a pandemic forcing major changes in and after mid-March).

Similarly, William Redpath, who has served on the National Committee of the Libertarian
Party in 1989-93 and 2003-20 and has “for the past thirty years . . . headed up the National Ballot
Access numbers of the Libertarian National Committee,” Redpath Deposition at 5-6; JA at 39,

testified that with a mid-March deadline, the Party “cannot spend as much time recruiting candidates.

*Mr. Winger has worked on minor party ballot access issues since the sixties and since
1985 has published Ballot Access News, which tracks statutory and judicial developments across
the country as they relate to minor political parties and independent candidates as well as to the
major parties. Winger Deposition at 4; JA at19. He has qualified as an expert on such matters in
fourteen different cases. Jd. at 7; JA at 20; Winger Dep. Ex. 1; JA at 31-37. Plaintiffs listed him
as an expert witness in this case, and his deposition was conducted, by agreement, “as if he were
an expert.” Winger Dep. at 8; JA at 20. All or almost of his deposition testimony, however, was
factual.

‘There are two copies of the Affidavit of Jake Porter in the Joint Appendix. The first one,
JA at 46-48 is an unsigned copy that plaintiff's counsel mistakenly filed on PACER on February
27, 2021 and then served on the defendant. The second one, JA at 49-50, is signed and
notarized. The signed copy is blurred in spots, so the unsigned version may be easier to read.

6
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 7 of 24

... [W]e would have to start earlier to recruit candidates and cut things off earlier.” Jd. at 8; JA at
39. In addition, with such a deadline, candidates would “have to petition during winter months or
before, And that would be very difficult. It’s difficult to petition outside during the winter, and it’s
... difficult, more difficult to get people to stop to sign a petition than it is in the spring or the
summer.” /d. at 9; JA at 40. During winter fewer people are out and about and, if they are out, are
less willing to stop. “[W]hen it’s cold outside, . . . it’s no fun to be out there, and I can see a lot
fewer people would be willing to do [petitioning], and definitely a lot fewer people are willing to
stop and sign.” Jd. at 9-10; JA at 40, It follows that it would also be much more difficult to engage
people in the political discussion that is often needed to educate voters about a minor party’s
platform and to convince them why they should sign a petition. In addition, “cutting things off early
also means that . . . people cannot react to the developments in the political landscape during the
year, or candidates who win primaries from other parties . .., people might feel stimulated to step
up and run for office, but with a March deadline they would be foreclosed from doing that” in
response to the major party primary results. Jd at 9; JA at 40. And, of course, petitioners do not
ordinarily have access to private malls — where winter shoppers go. “[I]t’s very rare to be able to
petition on private property.” Jd. at 10; JA at 40.

In this case, the mid-March deadline in 2020 fell more than five months before the final gavel
came down at the second major party convention that nominated its presidential candidates and about
seven and a half months prior to the general election. The above-cited cases have identified various
adverse consequences that such early filing deadlines impose on candidates running outside the
major parties. Courts have noted, for example, that springtime filing requirements create serious

obstacles for the nonmajor parties and candidates to build coalitions to counter the major party
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 8 of 24

candidates, who might not be providing what groups of voters want and who frequently (as in Iowa)
will not even be identified until well after nominating petitions must be submitted. Anderson, 460
USS, at 791-92; Council of Alternative Political Parties, 121 F.3d at 880. As the Supreme Court

explained in Anderson,

Anearly filing deadline may havea substantial impact on independent-minded voters.
In election campaigns, particularly those which are national in scope, the candidates and the
issues simply do not remain static over time. Various candidates rise and fall in popularity;
domestic and international developments bring new issues to center stage and may affect
voters’ assessments of national problems. Such developments will certainly affect the
strategies of candidates who have already entered the race; they may also create opportunities
fornew candidacies. Yet Ohio's filing deadline prevents persons who wish to be independent
candidates from entering the significant political arena established in the State by a
Presidential election campaign-and creating new political coalitions of Ohio voters-at any
time after mid-to-late March. At this point developments in campaigns for the major-party
nominations have only begun, and the major parties will not adopt their nominees and
platforms for another five months. Candidates and supporters within the major parties thus
have the political advantage of continued flexibility; for independents, the inflexibility
imposed by the March filing deadline is a correlative disadvantage because of the
competitive nature of the electoral process. . . .

Since the principal policies of the major parties change to some extent from year to
year, and since the identity of the likely major party nominees may not be known until shortly
before the election, this disaffected 'group' will rarely if ever be a cohesive or identifiable
group until a few months before the election. Indeed, several important third-party
candidacies in American history were launched after the two major parties staked out their
positions and selected their nominees at national conventions during the summer.
460 U.S. at 790-92; accord, Green Party of Tennessee, 2012 U.S. Dist. Lexis at *135-37; Nader
2000 Primary Committee, Inc. v Hazeltine, 110 F. Supp. 2d at 1207-08.

The Eighth Circuit has been in full agreement with the Anderson Court about the burdens
imposed by early filing deadlines for minor party and independent candidates. McLain v. Meier, 637
F.2d 1159 (8" Cir. 1980), struck down a North Dakota statute requiring “new party” candidates to

file their petitions by June 1 of the election year, more than ninety days before the primary and more
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 9 of 24

than one hundred fifty days before the general election. After reviewing the relative burdens
imposed by petition percentage requirements, the Court noted that “the time at which nominating
petitions are filed can have an equal if not greater impact on the viability of third party candidacy.”
Id. at 1164. The North Dakota deadline was “particularly troublesome:”

[M]ost voters in fact look to third party alternatives only when they have become dissatisfied

with the platforms and candidates put forward by the established political parties. . . .

Accordingly, it is important that voters be permitted to express their support for independent

and new party candidates during the time of the major parties’ campaigning and for some

time after the selection of candidates by party primary.”
Id.; accord MacBride v. Exon, 558 F.2d 443, 448-49 (8" Cir. 1977) (Nebraska statute that required
new parties to file their petitions ninety days before the state’s primary and nine months before the
general election imposed an “arbitrary restriction” on the process); see also McLain v. Meier, 851
F.2d 1045 (8 Cir. 1988) (amended N.D. act that cut the number of required signatures by more than
half and moved the filing deadline to fifty-five days before the primary was reasonable).

The conclusion to be derived from the cumulation of the evidence on the impact of an unduly
early deadline and the judgment of the above authorities® is that lowa’s mid-March filing deadline
for the Libertarian Party’s candidates imposes a significant burden upon them and can be upheld only

upon a showing that the deadline is necessary to sustain a compelling state interest. E.g., Burdick,

supra; Norman, supra; McLain |, supra; MacBride, supra.

B. Iowa Lacks Any Reasonable Basis for Requiring a Mid-March Filing Deadline for
Minor Party Candidates. Let Alone a Compelling State Interest.

Iowa’s justification for the deadline in §§ 44.4 and 45.4 is, frankly, “not much.” Molly

Widen, Legal Counsel to the Secretary of State and the person designated by the defendant to speak

*See also Appendix B to this Brief, which lists the cases striking down various early
deadlines.
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 10 of 24

about the statute, testified that her “only understanding” of the reason for changing the deadline
from August to March was “for uniformity” — to create the same filing deadline “[flor the major
political parties as well as the non-political party organizations.”” Widen Dep. at 12; JA at 12. When
asked “what was the legislative perception that there was some value to achieving this uniformity,”
she replied, “I’m not — I’m not sure.” /d. at 12-13; JA at 12-13. She then added that the March
deadline “‘does allow us to do the whole entire filing period at once instead of having to do it twice,”
although she also conceded that the office would “still be processing the same number of candidate
petitions.” Jd. at 14; JA at 13. She was not aware of any problems that were created by the August
deadline. Jd. at 12; JA at 12. See Nader 2000 Primary Committee, 110 F. Supp. 2d at 1204 (there
was no evidence that South Dakota’s August deadline had caused any problems in its 23 years; 33
states had filing deadlines for presidential candidates in August or later). Indeed, the Eleventh
Circuit has concluded that “[n]o one can seriously contend that a deadline for filing for a minor party
and its candidates seven months prior to the [general] election is required to advance legitimate state
interests.” New Alliance Party of Alabama, 933 F.2d at 1576. The Third Circuit has expressed a
similar inability to identify any state interest that could support an April deadline for minor parties.
Council of Alternative Political Parties, 121 F.3d at 881.

Iowa’s rationale for the March deadline in this case has some deep flaws.

First, the desire for “uniformity” has little more than cosmetic effect and actually imposes
a discriminatory burden on minor party candidates. After noting that the Ohio law struck down in
Anderson v. Celebrezze “serve[d] the interest of treating all candidates alike,” and created the same
filing deadline for petitioner as it did for the major party candidates, that Court continued: “But

both the burdens and the benefits of the respective requirements are materially different, and the

10
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 11 of 24

reasons for requiring early filing for a primary candidate are inapplicable to independent [and minor
party] candidates in the general election.” 460 U.S. at 800. Here, as in Anderson, the differences
between major party candidates and minor party candidates are obvious. The need for a preprimary
deadline with lead time to verify signatures for major party candidates is patent. Ifa candidate wants
to participate in the primary, he or she must file in advance of it and must establish his or her
credentials. But there is absolutely no reason why the State needs the petitions and filings ofa minor
party’s candidates in March. As the Eighth Circuit said in MacBride;

The fact is there are obvious differences in kind between the needs and potentials of a

political party with historically established broad support, on the one hand, and a new or

small political organization on the other. ... Sometimes the grossest discrimination can lie
in treating things that are different as though they were alike, a truism well illustrated in

Williams v. Rhodes, supra.

558 F.2d at 449 (quoting, with approval, the district court’s opinion); accord, Anderson, 460 U.S.
at 802; Jenness v. Fortson, 403 U.S. 431, 442 (1971).

Second, Iowa, in fact, facially treats minor parties in a seriously discriminatory manner. That
is because Iowa law permits the major parties to fill in candidates for open slots on their ballot slates
as late as the 73™ or the 69" day (depending on the office) before the general election. Iowa Code
§ 43.78.2 & .3. In 2020, those dates were August 20 and August 24. The state provides no such
leniency to minor parties.

Third, any interest in concentrating the filing season into one compact period, to perhaps
increase efficiency, Widen Dep. at 14; JA 13, is rendered nugatory by the fact that in presidential
years §§ 44.4.1 and 44.5 would actually make the verification process more burdensome for the

Secretary’s office. That is because the filing deadline for presidential candidates is mid-August.

Widen Dep. at 17. Thus, in those years, there would still be two petition-filing and verification

11
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 12 of 24

seasons and — unlike under the old August deadline — the office could not combine the verification
process for minor party presidential candidates with the down ballot candidates. In any event,
whether minor party petitions are verified in March or in August, the amount of signature processing
for the Secretary’s office for the latter candidates will be the same, Widen Dep. at 14; JA 13, thus
throwing into serious question whether the March deadline creates any efficiencies.

Finally, if there be any unarticulated advantage to finalizing minor party candidates in March
of an election year, it would be countermanded by Iowa Code § 44.4.2. When the 2019 Legislature
changed the filing deadline in 2019, it left in place the deadlines for making objections to candidates’
petitions of between 63 days 68 days “before the election” (depending on the office), or sometime
in late August. /d. Thus, there would be no finality on minor parties’ candidates until those later
dates. So, what’s the point of a March filing deadline for nonparty political organizations?

As in Anderson, “[u]nder any realistic appraisal, the ‘extent and nature’ of the burdens [the
State] has placed on the voters’ freedom of choice and freedom of association . . . unquestionably

outweigh” the State’s interests.

Cc. Whatever the State’s Reason for the Mid-March Filing Deadline. Burdening the
Plaintiffs’ Rights Is Not Necessary to Its Accomplishment.

Although filing deadlines necessarily run on a continuum, and concluding that some point
on that continuum a line is “necessary” is a somewhat arbitrary (though not necessarily capricious)
determination, it is clear enough that a mid-March deadline for minor party candidate petitions falls
on the unnecessary side of the line. We know that because Iowa operated for years with a mid-
August deadline that had not created any identifiable problems or difficulties. Widen Dep. at 12;

JAat 12. Moreover, William Redpath, the thirty-year chair of the National Libertarian Party’s Ballot

12
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 13 of 24

Access Committee, is “not aware of any states that have a filing deadline in March or before, other
than Iowa.” The defendant has not identified any unique circumstance in Iowa that would justify
making her a complete outlier on this issue. Indeed, the Iowa winters that precede the mid-March
deadline and blanket the current petitioning season would provide an exceptional reason for
concluding such a deadline is not necessary and does not promote any legitimate state interest.
CONCLUSION
The foregoing demonstrates that the mid-March filing deadline in lowa Code §§ 44.4.1 and
45.4 imposes a substantial burden on minor parties in placing their candidates on the general election
ballot, yet fails to advance in any rational (let alone compelling) governmental interest. A much later
deadline would still permit the State to accomplish all of its electoral concerns. For these reasons,
the section violates the First and Fourteenth Amendments to the United States Constitution. The
Court must declare the sections invalid and enjoin their further enforcement.
Robert UM. Gastress, Yr.

Robert M. Bastress, Jr.

West Virginia Bar ID # 263

P.O. Box 1295

Morgantown, W.Va. 26507-1295

(304) 319-0860
rmbastress@gmail.com

Uukia rb, Ofeuballe
Julia A. Ofenbakh
Iowa Defenders, PLLC
2183 86" St., Suite C
Clive, Iowa 50325
515-868-0088
julia@iowadefenders.com

Counsel for Plaintiffs

13
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 14 of 24

CERTIFICATE OF SERVICE
I, Robert M. Bastress, Jr., counsel for the plaintiffs, certify that I have served the foregoing
Brief in Support of Plaintiffs’ Motion for Summary Judgment on counsel for the defendant, Paul D.
Pate, by filing the same on the Southern District of lowa’s Pacer CM/ECF system on this the 2" of

March, 2021. Robert Ut. Gastress, th.

14
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 15 of 24

APPENDIX A

SELECT PROVISIONS OF THE IOWA ELECTION CODE
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 16 of 24

SELECTED IOWA ELECTION CODE PROVISIONS

43.2. Definitions

1. As used in this chapter, unless the context otherwise requires:

a. “Book”, “list”, “record”, or “schedule” kept bya county auditor, assessor, treasurer,
recorder, sheriff, or other county officer means the county system as defined in section
445.1.

b. “Political party” shall mean a party which, at the last preceding general election,
cast for its candidate for president of the United States or for governor, as the case may be,
at least two percent of the total vote cast for all candidates for that office at that election.
It shall be the responsibility of the state commissioner to determine whether any
organization claiming to bea political party qualifies as such under the foregoing definition.

2. A political organization which is not a “political party” within the meaning of
subsection 1, paragraph “b”, may nominate candidates and have the names of such
candidates placed upon the official ballot by proceeding under chapters 44 and 45.

43.7. Time of holding

The primary election by all political parties shall be held at the usual voting places
of the several precincts on the first Tuesday after the first Monday in June in each
even-numbered year.

44.1. Political nonparty organizations

Any convention or caucus of eligible electors representing a political organization
which is not a political party as defined by law, may, for the state, or for any division or
municipality thereof, or for any county, or for any subdivision thereof, for which such
convention or caucus is held, make one nomination of a candidate for each office to be filled
therein at the general election. However, in order to qualify for any nomination made for
a statewide elective office by such a political organization there shall be in attendance at the
convention or caucus where the nomination is made a minimum of two hundred fifty
eligible electors including at least one eligible elector from each of twenty-five counties. In
order to qualify for any nomination to the office of United States representative there shall
be in attendance at the convention or caucus where the nomination is made a minimum of
fifty eligible electors who are residents of the congressional district including at least one
eligible elector from each of at least one-half of the counties of the congressional district.
In order to qualify for any nomination to an office to be filled by the voters of a county or
of a city there shall be in attendance at the convention or caucus where the nomination is
made a minimum of ten eligible electors who are residents of the county or city, as the case
may be, including at least one eligible elector from at least one-half of the voting precincts
in that county or city. In order to qualify for any nomination made for the general assembly
there shall be in attendance at the convention or caucus where the nomination is made a
minimum of ten eligible electors who are residents of the representative district or twenty
eligible electors who are residents of the senatorial district, as the case may be, with at least
one eligible elector from one-half of the voting precincts in the district in each case. The
names of all delegates in attendance at such convention or caucus and such fact shall be
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 17 of 24

certified to the state commissioner together with the other certification requirements of this
chapter.

45.1. Nominations by petition

1. Nominations for candidates for president and vice president, governor and lieutenant
governor, and for other statewide elected offices may be made by nomination petitions signed by not
less than one thousand five hundred eligible electors residing in not less than ten counties of the
state.

2. Nominations for candidates for a representative in the United States house of
representatives may be made by nomination petitions signed by not less than the number of eligible
electors equal to the number of signatures required in subsection 1 divided by the number of
congressional districts. Signers of the petition shall be eligible electors who are residents of the
congressional district.

3. Nominations for candidates for the state senate may be made by nomination petitions
signed by not less than one hundred eligible electors who are residents of the senate district.

4. Nominations for candidates for the state house of representatives may be made by
nomination petitions signed by not less than fifty eligible electors who are residents of the
representative district.

5. Nominations for candidates for offices filled by the voters of a whole county may be made
by nomination petitions signed by eligible electors who are residents of the county equal in number
to at least one percent of the number of registered voters in the county on July 1 in the year preceding
the year in which the office will appear on the ballot, or by at least two hundred fifty eligible electors
who are residents of the county, whichever is less.

6. Nominations for candidates for the office of county supervisor elected by the voters of a
supervisor district may be made by nomination petitions signed by eligible electors who are residents
of the supervisor district equal in number to at least one percent of the number of registered voters
in the supervisor district on July 1 in the year preceding the year in which the office will appear on
the ballot, or by at least one hundred fifty eligible electors who are residents of the supervisor
district, whichever is less.

7. a. Nomination papers for the offices of president and vice president shall include the names
of the candidates for both offices on each page of the petition. A certificate listing the names of the
candidates for presidential electors, one from each congressional district and two from the state at
large, shall be filed in the state commissioner's office at the same time the nomination papers are
filed.

b. Nomination papers for the offices of governor and lieutenant governor shall include the
names of candidates for both offices on each page of the petition. Nomination papers for other
statewide elected offices and all other offices shall include the name of the candidate on each page
of the petition.

8. Nominations for candidates for elective offices in cities where the council has adopted
nominations under this chapter may be submitted as follows:

a. Except as otherwise provided in subsection 9, in cities having a population of three
thousand five hundred or greater according to the most recent federal decennial census, nominations
may be made by nomination papers signed by not less than twenty-five eligible electors who are
residents of the city or ward.
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 18 of 24

b. In cities having a population of one hundred or greater, but less than three thousand five
hundred, according to the most recent federal decennial census, nominations may be made by
nomination papers signed by not less than ten eligible electors who are residents of the city or ward.

c. In cities having a population of less than one hundred according to the most recent federal
decennial census, nominations may be made by nomination papers signed by not less than five
eligible electors who are residents of the city.

9. Nominations for candidates, other than partisan candidates, for elective offices in special
charter cities subject to section 43.112 may be submitted as follows:

a. For the office of mayor and alderman at large, nominations may be made by nomination
papers signed by eligible electors residing in the city equal in number to at least two percent of the
total vote received by all candidates for mayor at the last preceding city election.

b. For the office of ward alderman, nominations may be made by nomination papers signed
by eligible electors residing in the ward equal in number to at least two percent of the total vote
received by all candidates for ward alderman in that ward at the last preceding city election.

44.4. Nominations and objections--time and place of filing

1. a. Nominations made pursuant to this chapter and chapter 45 which are required
to be filed in the office of the state commissioner shall be filed in that office not more than
ninety-nine days nor later than 5:00 p.m. on the eighty-first day before the first Tuesday
after the first Monday in June in each even-numbered year. Nominations made fora special
election called pursuant to section 69.14 shall be filed by 5:00 p.m. not less than twenty-five
days before the date of an election called upon at least forty days’ notice and not less than
fourteen days before the date of an election called upon at least eighteen days' notice.
Nominations made for a special election called pursuant to section 69.14A shall be filed by
5:00 p.m. not less than twenty-five days before the date of the election. Nominations made
pursuant to this chapter and chapter 45 which are required to be filed in the office of the
commissioner shall be filed in that office not more than ninety-two days nor later than 5:00
p.m. on the seventy-fourth day before the first Tuesday after the first Monday in June in
each even-numbered year. Nominations made pursuant to this chapter or chapter 45 for
city office shall be filed not more than seventy-two days nor later than 5:00 p.m. on the
forty-seventh day before the city election with the county commissioner of elections
responsible under section 47.2 for conducting elections held for the city, who shall process
them as provided by law.

b. Notwithstanding paragraph “a”, nominations for president and vice president of
the United States shall be filed in the office of the state commissioner not more than
ninety-nine days nor later than 5:00 p.m. on the eighty-first day before the date of the
general election to be held in November.

2.a. Objections to the legal sufficiency of a certificate of nomination or nomination
petition or to the eligibility of a candidate may be filed by any person who would have the
right to vote for a candidate for the office in question. The objections must be filed with the
officer with whom the certificate or petition is filed and within the following time:

(1) Those filed with the state commissioner, not less than sixty-eight days before the
date of the election.

(2) Those filed with the commissioner, not less than sixty-four days before the date
of the election, except as provided in subparagraph (3).
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 19 of 24

(3) Those filed with the commissioner for an elective city office, at least forty-two
days before the regularly scheduled or special city election. However, for those cities that
may be required to hold a primary election, at least sixty-three days before the regularly

scheduled or special city election.
(4) In the case of nominations to fill vacancies occurring after the time when an

original nomination for an office is required to be filed, objections shall be filed within three
days after the filing of the certificate.
b. Objections shall be filed no later than 5:00 p.m. on the final date for filing.

45.4. Filing--presumption--withdrawals--objections

The time and place of filing nomination petitions, the presumption of validity
thereof, the right of a candidate so nominated to withdraw and the effect of such
withdrawal, and the right to object to the legal sufficiency of such petitions, or to the
eligibility of the candidate, shall be governed by the law relating to nominations by political
organizations which are not political parties.
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 20 of 24

APPENDIX B

[The following chart was compiled by Richard Winger and was published in the March,
2019, issue of Ballot Access News.]
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 21 of 24

12/10/2020 March 2019 Ballot Access News Print Edition | Ballot Access News

LAWSUITS WHICH ENJOINED OR OVERTURNED EARLY PETITION DEADLINES

The chart below lists court decisions that have struck down laws that force independent candidates and new parties
to qualify for the ballot too early in the election process. Many state legislators have no knowledge of this area of
election law. An * refers to a deadline in the year before the election year.

The chart does not include decisions concerning special elections.

Bills to move petition or filing deadlines for independent candidates, or new parties, have been introduced in 2019 in
Arizona, Arkansas, Delaware, lowa, Nevada, New Hampshire, New York, Okiahoma, and West Virginia. The only
one that has passed so far is the New York bill that moved the petition deadlines from August to May. The only other
one that has passed in even one house of a legislature is the Delaware bill, which moves the minor party qualifying
deadline from August to early April. Although it passed the House in January, it has not moved since.

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State | Case Name Year Court Citation 1 Type | Deadline
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sma) ——s sete aad _
Ala. | NewAlliance Party v Hand 1991 7 11% ¢j circuit | 933 F.2d 1568 New party “Apr 6
| |
Alas. | Sigler v McAlpine 1988 | Superior | SAN-88-8695 New party/indp. | June 1
aa | Sykes v McAlpine 14990 | Superior | 3AN-90-7508 | Newpartylindp. | Aug. 1
| |
Alas. | Libertarian Party v Coghill , 1992 | Superior “| 3AN-92-8181 ~| President new Aug. 5 ~
| | party
Ariz. Nader v Brewer | 2011 | 9" circuit 531 F.3d 1028 ' President indp. | June 9
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Ark, Lendall v Bryant 11974 | US District | 387 F.Supp. Independent April 2
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Ark. Lendall v Jernigan 14977 | US 1 433 U.S. 901 independent April 6
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8/13
Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 22 of 24

March 2019 Ballot Access News Print Edition { Ballot Access News

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| | | |
Ark. | American Party v Jernigan 1977 US District | 424 F.Supp. New party | Mar. 7
| | 943
Ark. Lendall v McKuen 1988 US District LR-C-88-311 Independent Jan. 5
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Ark, Cit. to Est. Reform Party v 1996 | US District — 970 F.Supp. New party Jan, 2
| Priest | | ' 690
f |
Ark. Moore v Martin 2018 | US District | e.d.,4:14cv-65 | Independent | Mar. 1
1 salience Stel, SS oneal
Cal. | Calif. Justice Committee v | 2012 | US District | 2072WL | New party Jan. 2
Bowen 5057625
Ga. | Bergland v Harris ; 1985 | 11" circuit 767 F.2d 1551 | President new July 11
party
Hi. Liberrtarian Party v Waihee 1986 | US District ; cv-86-0439 New party Apr. 21
Id. | Populist Party v Evans | 4984 | 9" circuit 84-4108 New party May 30
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- = enn — 4 i ssa enema fie '
Ul. Lee v Keith | 2006 | 7*” circuit 463 F.3d 763 Independent *Dec 15
Ind. Warrick v Concre | 1983 | US District | IP-83-810-C, New party/indp. Feb. 22
| s.d.
| i
Ks, Merritt v Graves | 1988 | US District | 87-4264-R | independent June 10
Ky. | Libertarian Party of Ky v : 1991 | US District | 776 F.Supp | New party/indp. Jan. 30
Ehrier 1200 | |
| |
Me. Anderson v Quinn | 1980 | 1° circuit 634 F.2d 616 President indp. April 1
Me. | Stoddard v Quinn | 1984 | US District | 593 F.Supp New party/indp. | April 4
| 300
| fi ree wilco tm
Me. Libertarian Party v Dunlap 2016 | US District | 2:16cv-2 New Party | *Dec. 1
| fo} |
Md, Bradley v Mandel 1978 | US District | 449 F.Supp New party/indp. | Mar. 8
983 |
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ballot-access.org/2019/03/31/march-2019-ballot-access-news-print-edition/

12/10/2020

Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 23 of 24

March 2019 Ballot Access News Print Edition | Ballot Access News

ballot-access.org/2019/03/31 /march-201 9-ballot-access-news-print-edition/

/Md. | Anderson v Morris 1980 | 4!" circuit | 636 F.2d 55 ' President indp. | Mar. 3
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sien aa ea SI: . ee .
Ma. Serrette v Connolly 1985 | Superior | 68172, Suffolk New party/indp. (| May 8
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sh a. —| .
Mo. McCarthy v Kirkpatrick | 1976 US District 420 F.Supp | Independent Apr. 27
| 366
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Ss } | ; A ——~ -4
Mt. | Kelly v McCulloch 2012 | US District | cv-08-25 Independent Mar. 15
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Neb.  MacBride v Exon | 1977 | 8!" circuit | 558 F.2d 443 | President new Feb, 11
party
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Nev, Libt. Party of Nev. v 1986 | US District 638 F.Supp New party Apr. 1
Swackhamer | 565
Nev. Fulani v Lau 1992 | US District CV-N-92-535 | New partylindp. June 10
i
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NJ. LaRouche v Burgio 1984 . US District | 594 F.Supp President indp. Apr. 26
| 614
i
N vv, | Council of Alt, Parties v 1997 ¢ circuit | 121 Fad ¢ 876 New party/indp. | Apr. 10
| Hooks |
[ |
NLM. | Anderson Vv Hooper 1980 Us District 498 F.Supp President indp. Mar. 4
| 898
N.M. | Constitution Party v Duran 2013 | US District 4: 12¢ev-325 New Party Apr, 2
N.C. Greaves v State Bd. of 2009 | US District | 508 F.Supp 78 | President indp. Apr. 25
Elections
bee al | |
N.D, | McLain v Meier 1980 | 8" circuit | 637F.2d 1159 | New party June 1
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i i
Ohio | Williams v Rhodes 1968 | US } 393 U.S, 23 New party . | Feb. 7
Supreme |
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Ohio | Anderson v Celebrezze 1983 | US 460 U.S, 780 President indp. Mar. 20
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Ohio Denny v Eyrich 1984 } US District | C-1-84- Independent | Feb, 23
531,s.d |
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10/13
12/10/2020

Case 4:19-cv-00241-HCA Document 35-1 Filed 03/03/21 Page 24 of 24

March 2019 Ballot Access News Print Edition | Ballot Access News

ballot-access.org/2019/03/31/march-201 9-ballot-access-news-print-edition/

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» Ohio ; Cripps v Seneca Co. Bd 1985 US District | 629 F.Supp + Independent | Feb. 21
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Ohio | Libt. Party of Ohio v 2000 | 6°" circuit | 462 F.3d 579 New party | ‘Nov. 3
_ Blackwell |
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ee a i a
Pa. | Peoples Party v Tucker 1972 | US District | 347 F.Supp 1 New party/indp. | Mar.8
j
Pa. Consumer Party v Tucker 1973 | US District 364 F.Supp | New party/indp. Mar. 28
594
Pa. | Salera v Tucker 1976 | US 424 U.S. 959 New party/indp. Apr. 4
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Pa, Libt. Party v Davis 1984 ; US District 84-0262, m.d. | New party/i ndp. | Apr. 20
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Pa. | Hall v Davis 1984 US District | 84-1057, e.d. New party/indp. Apr. 20
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RI. | McCarthy v Noel 1976 US District | 420 F.Supp | President indp. Aug, 12
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la Se . sae .
S.D. Nader 2000 Comm. v 2000 | US District | 110 F.Sup2 President indp. Jun 20
Hazeltine | 1201
$.D. Libertarian Party of SD v i 1983 | US District civ-83-3071 New party Mar, 15
Kundert | |
S.D. | Libertarian Part v Krebs 2018 | US District | 4:15cv-4111 New party Mar, 27
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| ele El | _
Tn. Libertarian Party of Tn v 2010 | us District | 793 FSup 2d New party | Mar. 10
Goins | 1064 | |
Tn. Green Party of Tn. v Hargett 2012 | US District | 992 FSup 2d Theweay New party Apr. 5
959 | |
Ut. LaRouche v Monson 1984 us District | = F.Supp | President indp. Apr. 15
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